     Case 3:16-md-02741-VC Document 19466 Filed 10/04/24 Page 1 of 7



 1 WILKINSON STEKLOFF LLP              COVINGTON & BURLING LLP
   Brian L. Stekloff (pro hac vice)    Michael X. Imbroscio (pro hac vice)
 2 (bstekloff@wilkinsonstekloff.com)   (mimbroscio@cov.com)
 3 Rakesh Kilaru (pro hac vice)        One City Center
   (rkilaru@wilkinsonstekloff.com)     850 10th St. NW
 4 2001 M St. NW                       Washington, DC 20001
   10th Floor                          Tel: 202-662-6000
 5 Washington, DC 20036
 6 Tel: 202-847-4030                   BRYAN CAVE LEIGHTON PAISNER LLP
   Fax: 202-847-4005                   K. Lee Marshall (CA Bar No. 277092)
 7                                     (klmarshall@bclplaw.com)
   HOLLINGSWORTH LLP                   Three Embarcadero Center, 7th Floor
 8 Eric G. Lasker (pro hac vice)       San Francisco, CA 94111
   (elasker@hollingsworthllp.com)      Tel: 415-675-3400
 9 1350 I St. NW                       Fax: 415-675-3434
10 Washington, DC 20005
   Tel: 202-898-5843                   Jed P. White (CA Bar No. 232339)
11 Fax: 202-682-1639                   (jed.white@bclplaw.com)
                                       Linda C. Hsu (CA Bar No. 239880)
12                                     (linda.hsu@bclplaw.com)
13                                     120 Broadway, Suite 300
                                       Santa Monica, CA 90401
14                                     Tel: 310-576-2100
                                       Fax: 310-576-2200
15
   Attorneys for Defendant Monsanto
16 Company
17                     UNITED STATES DISTRICT COURT
18                  NORTHERN DISTRICT OF CALIFORNIA
19
   IN RE: ROUNDUP PRODUCTS               MDL No. 2741
20 LIABILITY LITIGATION,
                                         Case No. 3:16-md-02741-VC
21
   Gordan Goranson v. Monsanto           MONSANTO COMPANY’S NOTICE OF
22 Company,                              MOTION AND MOTION FOR
   Case No.: 3:21-cv- 06832-VC           SUMMARY JUDGMENT ON
23                                       CAUSATION GROUNDS
24
                                         Hearing:
25                                       Date: November 14, 2024
                                         Time: 2:00 p.m.
26                                       Place: Courtroom 4 (Via Zoom)
27
28

                       MONSANTO’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-md-02741-VC Document 19466 Filed 10/04/24 Page 2 of 7



 1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD:
 3         PLEASE TAKE NOTICE THAT on November 14, 2024 at 2:00 p.m. in
 4 Courtroom 4 of the United States District Court, Northern District of California,
 5 located at 450 Golden Gate Avenue, San Francisco, CA 94102, or as ordered by the
 6 Court, Defendant Monsanto Company (“Monsanto”) will move this Court for an
 7 order, pursuant to Federal Rule of Civil Procedure 56(c), entering judgment in its
 8 favor and against Wave 8A Plaintiff Gordan Goranson (“Plaintiff”), on the grounds
 9 that there is no genuine issue of material fact as to any claim for relief brought by
10 Plaintiff, and Monsanto is entitled to summary judgment.
11
12 Dated: October 4, 2024                  Respectfully submitted,
13
                                           /s/ Jed P. White
14                                             Jed P. White
15                                         Attorney for Defendant Monsanto Company

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                MONSANTO’S NOTICE OF MOTION & MOTION FOR SUMMARY JUDGMENT
         Case 3:16-md-02741-VC Document 19466 Filed 10/04/24 Page 3 of 7



 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2           As a threshold matter, to prevail on any of his claims, Plaintiff must prove that
 3 Roundup was the proximate cause of his cancer. Whether Roundup—a chemical
 4 compound—is defective, can cause cancer generally, and whether it actually did cause
 5 Plaintiff’s cancer specifically, are specialized issues for which expert testimony is
 6 required. Plaintiff failed to disclose any expert reports regarding specific causation,
 7 which were due September 9, 2024. Without expert testimony to prove specific
 8 causation, none of Plaintiff’s claims may proceed.
 9                                            BACKGROUND
10           Plaintiff is a resident of Indiana, who alleges that exposure to Monsanto’s
11 Roundup-branded herbicides (“Roundup”) caused Decedent to develop cancer.1 See
12 Complaint. ECF 1, ¶¶ 1-3, 127. Plaintiff seeks to hold Monsanto responsible for his
13 cancer. The lynchpin of Plaintiff’s complaint is that glyphosate—the active-ingredient
14 in Roundup—caused his cancer. See id.
15           On August 30, 2023, this MDL Court required all Wave 8A plaintiffs, including
16 Plaintiff in this case, to submit expert reports no later than September 9, 2024. See
17 Order Granting Joint Request for Revised Schedule for Wave 6-7 Cases and Adding
18 Wave 8 Schedule (“Scheduling Order”) (MDL ECF #17234). The expert discovery
19 required by this Order must be accompanied by written reports signed by the experts
20 and must contain “a complete statement of all opinions the witnesses will express and
21 the basis and reasons for them,” among other information. Fed. R. Civ. P.
22 26(a)(2)(B)(i).
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       For cases “filed in, or removed to, federal courts across the country and transferred to the MDL
25
     court by the Judicial Panel on Multidistrict Litigation[,] . . . the MDL court must apply the law of
26   the transferor forum, that is, the law of the state in which the action was filed, including the transferor
     forum’s choice-of-law rules.” In re Vioxx Prods. Liab. Litig., 478 F. Supp. 2d 897, 903 (E.D. La.
27   2007). Here, Indiana is the transferor forum. However, the Court does not need to decide whether
     Indiana or California law applies because under both of those states’ laws (cited herein), expert
28   testimony is required to establish specific causation in this case.
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                               MONSANTO’S MOTION FOR SUMMARY JUDGMENT
        Case 3:16-md-02741-VC Document 19466 Filed 10/04/24 Page 4 of 7



 1          Plaintiff did not submit an expert report regarding specific causation by the
 2 September 9, 2024 deadline. Specifically, Plaintiff has not served any expert report
 3 containing case-specific evidence of a causal link between Roundup exposure and his
 4 cancer. (Declaration of Jed White (“White Decl.”), ¶ 3.)
 5                        SUMMARY JUDGMENT STANDARD
 6          Summary judgment is appropriate when there is “no genuine dispute as to any
 7 material fact and the moving party is entitled to judgment as a matter of law.” Fed. R.
 8 Civ. P. 56(a). A fact is material when it could affect the outcome of the case, and a
 9 dispute about a material fact is genuine “if the evidence is such that a reasonable jury
10 could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477
11 U.S. 242, 248 (1986). The moving party bears the burden of “informing” the Court
12 that there exists the “absence of a genuine issue of material fact.” Celotex Corp. v.
13 Catrett, 477 U.S. 317, 323 (1986). Once the moving party has met this burden, the
14 nonmoving party must come forward with evidence to show there is in fact a genuine
15 issue for trial. Id. at 323-24. A “complete failure of proof concerning an essential
16 element of the nonmoving party’s case” warrants summary judgment and “necessarily
17 renders all other facts immaterial.” Id. at 323.
18                                      ARGUMENT
19 I.       SUMMARY JUDGMENT IS REQUIRED BECAUSE PLAINTIFF
20          LACKS THE REQUIRED ADMISSIBLE EXPERT TESTIMONY ON
21          CAUSATION.
22          Under California and Indiana law, expert medical testimony is required to
23 establish causation of a specific physical injury if such cause is not within the common
24 knowledge of the jurors. Stephen v. Ford Motor Co., 134 Cal. App. 4th 1363, 1373
25 (2005) (in a product liability case “where the complexity of the causation issue is
26 beyond common experience, expert testimony is required to establish causation”);
27 Willis v. Westerfield, 839 N.E.2d 1179, 1188 (Ind. 2006) (“expert testimony is
28 required where the question involves medical factors beyond the common knowledge
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-md-02741-VC Document 19466 Filed 10/04/24 Page 5 of 7



 1 of the layman such that the jury could only indulge in speculation in making a finding
 2 based thereon”); see also Fitzgerald v. Manning, 679 F.2d 341, 350 (4th Cir. 1982)
 3 (“expert testimony is usually necessary to support the conclusion as to causation”
 4 where the cause of the alleged injury is “determinable only in the light of scientific
 5 knowledge”).
 6         Here, Plaintiff alleges that he was diagnosed with cancer, which he claims was
 7 caused by his exposure to Roundup. See Compl. ¶ 127. “With cancer the question of
 8 causation is especially troublesome[;] . . . it is frequently difficult to determine the
 9 nature and cause of a particular cancerous growth.” Jones v. Ortho Pharm. Corp., 163
10 Cal. App. 3d 396, 403 (1985). As a result, “the unknown and mysterious etiology of
11 cancer is beyond the experience of laymen and can only be explained through expert
12 testimony.” Id. (citation and internal quotation marks omitted). Thus, the causal link
13 between Plaintiff’s injury and Roundup is a highly technical question of science that
14 is beyond the jurors’ understanding.
15         Plaintiff’s deadline to disclose expert reports was September 9, 2024. See
16 Scheduling Order. To date, Plaintiff has not disclosed a single expert witness or report
17 regarding specific causation. Plaintiff had ample time and opportunity to satisfy his
18 expert disclosure obligations under Rule 26(a)(2) and the Scheduling Order. And
19 honoring strict deadlines in an MDL is particularly important. See Allen v. Bayer
20 Corp. (In re: Phenylpropanolamine (PPA) Prods. Liab. Litig.), 460 F.3d 1217, 1222
21 (9th Cir. 2006) (affirming dismissal of cases in MDL for failure to comply with case
22 management orders because “multidistrict litigation is different because of the large
23 number of cases that must be coordinated, its greater complexity, and the court’s
24 statutory charge to promote the just and efficient conduct of the actions”).
25         This Court has granted summary judgment in favor of Monsanto in similar
26 cases where the plaintiff failed to disclose a specific causation expert, finding that
27 expert testimony was required to prove causation:
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-md-02741-VC Document 19466 Filed 10/04/24 Page 6 of 7



           Expert testimony also is required to establish causation for Matthaus-
 1         Shelton’s other product liability and tort claims. That’s because whether
 2         Roundup caused her multiple myeloma is a highly technical question that
           is not within the common knowledge and experience of an ordinary
 3         layperson.
 4 Matthaus-Shelton v. Monsanto Company, 20-cv-00168, Doc. No. 17 (Order Granting
 5 Summary Judgment, dated November 29, 2022); see also Adrine Hann v. Monsanto
 6 Company, 20-cv-7213, Doc. No. 23 (Order Granting Summary Judgment, dated
 7 November 3, 2022) (“Whether Roundup caused [Plaintiff’s] multiple myeloma is a
 8 highly technical and scientific question. Without expert testimony, a jury can only
 9 speculate.”).
10         As a result of Plaintiff’s failure to disclose any expert on the issue of specific
11 causation, he cannot prove causation—an essential element of all his claims. Without
12 any evidence of case-specific causation, Monsanto is entitled to summary judgment
13 on all Plaintiff’s claims. See Stephen, 134 Cal. App. 4th at 1373-74 (plaintiff’s
14 “inability to present expert testimony was fatal to her product liability and negligence
15 claims, and [thus] nonsuit was proper”); Martinez v. Ethicon Inc., No. 7:19-CV-
16 00164, 2020 WL 2113638, at *2 (S.D. Tex. May 1, 2020) (“Products liability cases
17 are quintessentially expert cases, and failure to designate experts almost always leads
18 to summary judgment.”); Sterling v. United States, 834 F. App’x 83, 87 (5th Cir.
19 2020) (upholding summary judgment where the plaintiff failed to designate expert
20 witnesses); Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 196-197 (4th Cir. 2001)
21 (affirming dismissal of product liability claims where appellant “had no admissible
22 medical evidence indicating that [defendant]’s device was the proximate cause of his
23 injuries”); Jones v. Danek Med., Inc., No. Civ. A. 4:96-3323-12, 1999 WL 1133272,
24 at *5 (D.S.C. Oct. 12, 1999) (“There being no expert testimony regarding causation,
25 summary judgment is granted on the products liability allegations.”).
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-md-02741-VC Document 19466 Filed 10/04/24 Page 7 of 7



 1                                    CONCLUSION
 2        For the foregoing reasons, Monsanto is entitled to summary judgment on all of
 3 Plaintiff’s claims.
 4
 5 Dated: October 4, 2024                  Respectfully submitted,
 6
                                           /s/ Jed P. White
 7                                            Jed P. White
 8                                         Attorney for Defendant Monsanto Company

 9                            CERTIFICATE OF SERVICE
10        I hereby certify that on October 4, I electronically filed the foregoing with the
11 Clerk of the Court by using the CM/ECF system which will send a notice of
12 electronic filing (NEF) to all counsel of record who are CM/ECF participants.
13                                         /s/ Jed P. White
                                              Jed P. White
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                         MONSANTO’S MOTION FOR SUMMARY JUDGMENT
